EXHIBIT A
Michael Slodov

From:                             Michael Slodov
Sent:                             Wednesday, September 4, 2019 10:51 AM
To:                               tylerhickle@hicklelegal.com
Subject:                          Re: Gilani v Javitch Block LLC 1:19-cv-00827-LY
Attachments:                      JB-Initial disclosures_Redacted.pdf


Mr. Hickle -

Per our call this morning, see documents attached identified as JBLLC 001-025.
I was informed that the complaint, appearing at JBLLC 021-025, was filed August 26, 2019 in CCL#2, case no.
19-1287-C26.
Please confirm receipt.
Also, please review and advise how you wish to proceed.


Michael D. Slodov, Esq.
Javitch Block LLC
1100 Superior Ave., 19th Floor
Cleveland, Ohio 44114
866.881.2400 ext. 2781
direct -440.318.1073 | fax -216.685.3039
mslodov@jbllc.com

This communication is from a debt collector. This is an attempt to collect a debt and any information obtained will
be used for that purpose.




From: Michael Slodov
Sent: Wednesday, September 4, 2019 9:22 AM
To: tylerhickle@hicklelegal.com
Subject: Gilani v Javitch Block LLC 1:19-cv-00827-LY

Mr. Hickle -

Following up on my call yesterday, please call me at your earliest convenience to discuss the above-matter, and
the claim which is the subject of Exhibit 1 to your complaint.


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